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                             Errata Schedule A—Schedule of Actions

     1. Mulvania v. Wright Medical Technology, Inc., et al., 2:19-cv-02864 (D. Arizona)

     2. Casey v. Wright Medical Technology, Inc., 2:19-cv-05360 (D. Arizona)

     3. Simpson v. Wright Medical Technology, Inc., 5:17-cv-00062 (E.D. Arkansas)

     4. Musticchi v. Wright Medical Technology, Inc., 4:19-cv-00607 (E.D. Arkansas)

     5. Burkhart v. Wright Medical Technology, Inc., et al., 2:17-cv-08561 (C.D. California)

     6. Bodily v. Wright Medical Technology, Inc., et al., 5:18-cv-02244 (C.D. California)

     7. Buchanan v. Wright Medical Technology, Inc., 2:19-cv-04824 (C.D. California)

     8. Cole v. Wright Medical Technology, Inc., 2:20-cv-03993 (C.D. California)

     9. Baker v. Wright Medical Technology, Inc., 2:20-cv-00823 (E.D. California)

     10. Hofer v. Wright Medical Technology, Inc., 3:18-cv-1991 (S.D. California)

     11. Sivilli v. Wright Medical Technology, Inc., et al., 3:18-cv-02162 (S.D. California)

     12. Marshall v. Wright Medical Technology, Inc., 1:19-cv-01883 (D. Colorado)

     13. Stouffer v. Wright Medical Technology, Inc., 3:19-cv-03818 (N.D. Florida)

     14. Sharif, et al. v. Wright Medical Technology, Inc., 1:20-cv-01300 (N.D. Georgia)

     15. Evans v. Wright Medical Technology, Inc., 3:19-cv-00160 (N.D. Indiana)

     16. Dumler v. Wright Medical Technology, Inc., 6:17-cv-02033 (N.D. Iowa)

     17. Hill v. Wright Medical Technology, Inc., 6:20-cv-02032 (N.D. Iowa)

     18. Burdolski v. Wright Medical Technology, Inc., 2:20-cv-02116 (D. Kansas)

     19. Kief v. Wright Medical Technology, Inc., 1:18-cv-00035 (D. Maine)

     20. Williams v. Wright Medical Technology, Inc., 1:20-cv-00578 (D. Maryland)

     21. Garfield v. Wright Medical Technology, Inc., 1:18-cv-011872 (D. Massachusetts)

     22. McDonald v. Wright Medical Technology, Inc., 1:18-cv-12570 (D. Massachusetts)

     23. Jurczyk v. Wright Medical Technology, Inc., 4:19-cv-40126 (D. Massachusetts)

     24. Matuszko v. Wright Medical Technology, Inc., 3:20-cv-10200 (D. Massachusetts)



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     25. Bradley v. Wright Medical Technology, Inc., 1:20-cv-10215 (D. Massachusetts)

     26. Monson v. Wright Medical Technology, Inc., 0:18-cv-01282 (D. Minnesota)

     27. Gale, et al. v. Wright Medical Technology, Inc., 0:20-cv-01009 (D. Minnesota)

     28. Matosich v. Wright Medical Technology, Inc., et al, 9:19-cv-00016 (D. Montana)

     29. Lopez v. Wright Medical Technology, Inc., 1:19-cv-12583 (D. New Jersey)

     30. Safir v. Wright Medical Technology, Inc., 1:18-cv-10742 (S.D. New York)

     31. Haskell v. Wright Medical Technology, Inc., 3:19-cv-01563 (D. Oregon)

     32. Harris v. Wright Medical Technology, Inc., 2:19-cv-00280 (W.D. Pennsylvania)

     33. Miles v. Wright Medical Technology, Inc., 4:20-cv-00941 (D. South Carolina)

     34. Bradshaw v. Wright Medical Technology, Inc., 1:16-cv-00108 (D. Utah)

     35. Burningham v. Wright Medical Technology, Inc., et al., 2:17-cv-00092 (D. Utah)

     36. Smolka v. Wright Medical Technology, Inc., 2:19-cv-00263 (D. Utah)

     37. Layton v. Wright Medical Technology, Inc., 1:20-cv-00083 (N.D. West Virginia)

     38. Ridolfi v. Wright Medical Technology, Inc., 2:20-cv-00680 (E.D. Wisconsin)

     39. Tzakis v. Wright Medical Technology, Inc., 3:19-cv-00545 (W.D. Wisconsin)

     40. Chadderdon v. Wright Medical Technology, Inc., et al., 3:19-cv-00787 (W.D. Wisconsin)

     41. Larson v. Wright Medical Technology, Inc., 3:20-cv-00261 (W.D. Wisconsin)

     42. Craugh, et al. v. Wright Medical Technology, Inc., 3:20-cv-00270 (W.D. Wisconsin)




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